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                                 UNITED STATES DISTRICT COURT
                                   DISTRICT OF MASSACHUSETTS
----------------------------------------------------------x
                                                          :
UNITED STATES OF AMERICA,                                 :
                                                          :
                                                          : Criminal No. 1:19-cr-10080-NMG
                                                          :
         -against-                                        : FILED EX PARTE AND UNDER SEAL
                                                          :
GREGORY COLBURN, ET AL,
                                                          : LEAVE TO FILE GRANTED
                           Defendants.                    : SEPTEMBER 9, 2021
                                                          :
                                                          :
----------------------------------------------------------x

              NON-PARTY UNIVERSITY OF SOUTHERN CALIFORNIA'S
               MEMORANDUM IN SUPPORT OF MOTION TO QUASH

       Pursuant to Rule 17 of the Federal Rules of Criminal Procedure, the University of Southern

California (“USC”) respectfully asks this Court to quash two categories of documents requested

in a trial subpoena for documents served on August 12, 2021, by counsel for Defendant John

Wilson. The trial subpoena seeks, among other things, admission-related student records for six

students, and gift receipts reflecting donation histories of the families of 18 students. Six days

after Wilson served his trial subpoena, the Court declared that evidence regarding unrelated

students who were not known to Defendants at the time they entered the alleged conspiracy with

Rick Singer “has no bearing on the defendants’ state of mind and, thus, is irrelevant.” Aug. 18,

2021 Tr. at p 6. The Court further declared, “USC is not on trial here, and I will not have this case

devolve into multiple side trials.” Id. Yet, that is exactly what Wilson is attempting to do. By

seeking information regarding students whom Wilson’s counsel has explicitly conceded Wilson

did not know at the time of Wilson’s son’s admission to USC, Wilson wants to put USC—and

other USC students and parents—on trial.
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        In meet and confer sessions, Wilson attempted to salvage his trial subpoena and circumvent

the Court’s ruling by claiming, without any evidence or support, that the Court’s ruling somehow

did not apply to the pending tax charge against Wilson. Wilson’s position, which he refused to

explain to USC in any further detail, makes no sense. First, evidence of other students’ academic

records, athletic resumes, and donation histories has no bearing on Wilson’s state of mind when

he filed his tax returns, and therefore is irrelevant to the requisite scienter that the government must

prove. Second, Wilson’s attempt to obtain these documents associated with other students will

inevitably devolve into a series of mini-trials regarding the circumstances of each student’s

admission and donation history, which the Court has already declared will not happen. Wilson’s

attempt to carve out the pending tax charge from the Court’s prior ruling fails.

        Wilson’s trial subpoena is further unreasonable and oppressive because Wilson’s requests

are cumulative and duplicative of past requests that have already been resolved. USC has already

produced to Wilson admission-related and/or donation-related documents for over 60 unrelated

students.1 Moreover, as explained in further detail below, USC and Wilson reached an agreement

on the number of students for whom USC would produce admission-related and donation-related

documents, and the Court previously quashed similar and overlapping document requests after

Wilson reneged on his agreement with USC. Wilson’s attempt to take yet another bite at the apple

is entirely inappropriate. In addition, Wilson’s requests infringe on the privacy of innocent

students and families who have nothing to do with this case, and these unrelated students should

not be gratuitously dragged into this highly publicized criminal trial. For these reasons, as further

described below, Wilson’s trial subpoena should be quashed.




 1
     Of course, in light of the Court’s recent ruling, USC expects that none of these documents is
     relevant.

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                              I.     FACTUAL BACKGROUND

        Wilson allegedly conspired with Rick Singer to have his son admitted to USC through a

“side door” scheme. This door was opened by Jovan Vavic, USC’s Men’s Water Polo coach at

the time, whom Singer allegedly corrupted.2 Singer told Wilson that Vavic would falsely present

Wilson’s son to USC’s Office of Admission (“Admission”) as a water polo recruit in exchange for

a $100,000 payment to the water polo program. Singer, in turn, would receive $150,000 from

Wilson for facilitating the arrangement.

        Nothing about Wilson’s matriculation to USC resembled the recruitment of a legitimate

athlete. Although Wilson’s son did play water polo in high school, he was not nearly skilled

enough to play for USC, a longtime water polo powerhouse that won the NCAA title nine of the

last 17 years.3 Wilson knew his son was not good enough to play water polo at USC. In an email

to Singer, Wilson described his son as a “bench warmer” and worried that his son would “be so

weak as to be a clear misfit at practice.” D.E. 3-4 at 123. Singer assured Wilson that his son would

not even have to “get in the pool” and that Wilson’s son could quit after one semester, which is

exactly what he did. D.E. 736 at 15. Their only objective was making Admission believe that

Vavic actually wanted Wilson’s son on the team for his athletic abilities. Singer told Wilson that

they needed to “embellish” his son’s athletic profile. Wilson’s emails with Singer make clear that

Wilson understood this false presentation was necessary for the “side door” scheme to work.

        Similarly, nothing about Wilson’s purported donation to USC resembled a normal

donation. Wilson told the Court that “Singer persuaded Wilson to route his donation through



 2
     Vavic has also been indicted for his role in procuring admission for Wilson’s son. See United
     States v. Ernst et al., No. 19-cr-10081 (D. Mass Mar. 5, 2019), D.E. 1.
 3
     Under NCAA rules, Men’s Water Polo teams can offer a maximum of 4.5 scholarships, which
     can be divided up among different players. USC’s Men’s Water Polo teams typically has
     roughly 30 players. The team relies on many walk-ons to be significant contributors.

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Singer’s charity, the Key Worldwide Foundation.” D.E. 995. According to Wilson, Singer then

sent $100,000 to USC, and Singer “stole the other $100,000 for himself.” Id. USC does not

believe it ever issued Wilson a gift receipt in connection with the $100,000 payment made by

Singer.

          Without the “side door” scheme, Wilson’s son was unlikely to be admitted on his own

merit. Wilson told the Court that his son was a “good student” whose GPA was “well within the

range of USC’s admission pool.” D.E. 995 at 3. This is not true. His high school GPA was 3.37,

which placed him just outside the bottom 20% of his graduating high school class. See Common

Application of Wilson’s son, attached hereto as Exhibit A. In 2014, USC’s “vast majority of

admitted freshmen rank[ed] in the top 10 percent of their high school’s graduating class, 75 percent

[had] standardized test scores at or above the 95th percentile, and their average un-weighted high

school GPA [was] 3.82.”

                            II.     PROCEDURAL BACKGROUND

          On August 12, 2021, Wilson served USC with a trial subpoena seeking, among other

things:

          1.     All documents prepared for and by USC’s Athletic Admissions Review
                 Committee (the “Subco”) in connection with the applications of Kathryn Fell,
                 Clara Gross, Kelley Hawke, Mickey Hawke, Natalie Pearson, and Hannah Terry,
                 to the extent such documents exist and have not been previously produced.

          2.     All gift receipts issued by USC from 2007 to 2019 to any family member of or
                 any foundation or other entity associated with a family member of: Maricela
                 Arechiga, Lauren Armona, Holly Blair, Scott Burnam, Charlotte Caccamise,
                 Kathryn Fell, Zoe Gries, Kelley Hawke, Carter Jenkins, Samantha Johnson,
                 Kaitlyn Van Konynenburg, Paul Matt, Tyler McMorrow, Hunter Penrose, John
                 (Jack) Queen, Phillips Sivolobov, William Wild, Genevieve Worthe.

          Six days later, on August 18, 2021, the Final Pretrial Conference was held in advance of

Wilson’s trial. The Court stated in no uncertain terms:



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       As a preliminary matter, counsel should understand that this trial is not going to be about
       the general admissions policy of the University of [Southern] California or the method it
       uses to admit students. USC is not on trial here, and I will not have this case devolve into
       multiple side trials. Unless there's evidence that a defendant was misinformed with
       respect to the admission policy of the subject university and/or knew that USC
       admitted a specific unqualified student whose parent made a large donation to the
       school before that defendant entered into the alleged conspiracy with Singer, evidence
       of what other unrelated students and parents did has no bearing on the defendants'
       state of mind and, thus, is irrelevant to the requisite scienter that the government
       must prove in this case.

       August 18, 2018 Tr. at p. 6, attached hereto as Exhibit B. (Emphasis added).

       During the meet and confer process, Wilson’s counsel explicitly conceded that his client

did not know any of the students identified in his trial subpoena at the time his son was admitted

to USC. Despite the Court’s recent orders, Wilson refused to withdraw his requests. Instead,

Wilson claimed his requests for these students’ academic records, athletic resumes, and donation

histories were made in connection with the tax count, which Wilson claimed was somehow not

covered by the Court’s recent ruling. Wilson declined to provide any support for this position.

Moreover, when USC asked Wilson to explain why he believed these students’ records were

relevant to whether Wilson filed a false tax return, Wilson’s counsel refused to explain any theory

of relevance.

       In an attempt to resolve the matter and avoid the expense of filing a motion, USC offered

to produce the student records for the only two students at issue who were admitted through Subco

before Wilson’s son was admitted. Wilson’s counsel rejected USC’s offer and demanded USC

produce student records for 10 students, all but one of whom were admitted after Wilson’s son

and/or were not admitted through Subco as a recruited athlete.

                                 III.    LEGAL STANDARD

       Pursuant to Federal Rule of Criminal Procedure 17(c)(2), “the court may quash or modify

[a] subpoena if compliance would be unreasonable or oppressive.” See, e.g., United States v.


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Henry, 482 F.3d 27, 30-31 (1st Cir. 2007) (affirming trial court’s decision to quash subpoenas

pursuant to Fed. R. Crim. P. 17(c)(2)); United States v. Bergeson, 425 F.3d 1221, 1227-28 (9th

Cir. 2005) (upholding district court order quashing subpoena for testimony pursuant to Fed. R.

Crim. P. 17(c)(2)).

                                       IV.     ARGUMENT

A.     Wilson’s trial subpoena seeks documents the Court has already ruled are irrelevant,
and there is no new justification for the Court to reverse its ruling.

       The Court has stated in no uncertain terms that “USC is not on trial here, and [it] will not

have this case devolve into multiple side trials.” Exhibit B. The Court further held that evidence

regarding students who were not known to Defendants at the time they entered the alleged

conspiracy with Rick Singer “has no bearing on the defendants’ state of mind and, thus, is

irrelevant.” Id. Wilson has not provided any reason why the Court should reverse its ruling, nor

has Wilson provided any support for his contention that his pending tax was somehow carved out

from the Court’s ruling. For this reason alone, Requests 1 and 2 of Wilson’s subpoena should be

quashed.

       Even if the Court’s prior ruling was somehow only intended to address the fraud charges,

as Wilson contends, the admission-related and donation-related documents of unrelated and

previously unknown students has no bearing on Wilson’s state of mind when he allegedly filed a

false tax return, and therefore is irrelevant to the requisite scienter that the government must prove.

Although Wilson has refused to share his theory of relevance in prior meet and confer calls, USC

suspects that Wilson is attempting to make an argument about how USC’s admission-related and

donation-related practices corroborated his purportedly reasonable belief that his actions were

consistent with USC’s policies and practices. After all, this is what Wilson argued in claiming that

student records of unrelated and unknown students were relevant to his fraud charges. But


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Wilson’s relevance argument fails: the admission and/or donations associated with students

unknown to Wilson at the time he entered into the alleged conspiracy with Singer could not

possibly have affected his state of mind at the time and therefore are irrelevant to the requisite

scienter for committing fraud or filing a false tax return.

       Wilson’s relevance argument also fails because there is no reason to believe Wilson’s son

was similarly situated to the students at issue in Wilson’s trial subpoena. Of the names identified

in Wilson’s subpoena, only five students were admitted before Wilson’s son was admitted in 2014,

and only two of those five students were admitted through Subco. Moreover, one of the two

students who was admitted through Subco was a star athlete at USC and is currently a professional

athlete. There is no evidence that any of these other students’ families had a clandestine agreement

with a third party outside of USC to “embellish” their child’s athletic resume. There is similarly

no reason to believe that any of these students’ families funneled donations to USC through a third-

party intermediary, to the extent these students’ families made any donations at all. The documents

sought in Wilson’s trial subpoena will not only lead to the mini trials that the Court has refused to

allow, but these mini trials will ultimately show that the students Wilson wants to use as a

comparison are not at all similarly situated.

B.     Wilson’s trial subpoena is unreasonable because it seeks documents that were already
resolved through prior negotiations and motions of his Rule 17(c) pre-trial subpoenas.

       1.      Wilson’s First Rule 17(c) Subpoena

       Wilson’s First Subpoena dated February 7, 2020, and joined by six other Defendants,

sought admission-related documents relating to 50 students and donation histories for every

student admitted as a recruited walk-on athlete since 2011. See Exhibit C. After USC filed a

motion to quash, the Court granted USC’s motion in part by ruling that USC did not have to

produce documents for students who did not go through Subco like Wilson’s son. The Court also


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quashed Wilson’s request for donation histories of all students admitted as recruited walk-on

athletes since 2011. USC produced admission-related documents for the 35 students who were

admitted through Subco out of the 50 students requested.

       2.     Wilson’s Second Rule 17(c) Subpoena

       Wilson’s Second Subpoena dated March 20, 2020, sought all documents and

communications related to every men’s and women’s water polo player dating back to 2007.

Wilson’s second subpoena also sought donation information for every student-athlete—regardless

of sport or scholarship—who enrolled at USC since 2007. See Exhibit D. At the eleventh hour,

after USC had drafted a motion to quash, Wilson reversed course and proposed a compromise in

which USC would provide admission-related documents and donation histories for 15 specific

water polo players and donation histories for 11 specific non-water polo players. USC accepted

this compromise.

       3.     Wilson’s Third Rule 17(c) Subpoena

       Wilson’s Third Subpoena dated May 13, 2020, was not made in good faith and sought,

among other things, the exact same categories of documents he agreed to forgo in resolving his

second subpoena, including admission-related documents and donation histories for additional

students. See Exhibit E. USC moved to quash Wilson’s third subpoena and asked the Court to

enforce the parties’ agreement resolving Wilson’s second subpoena. D.E. 1357, 1358. The Court

granted USC’s motion to quash Wilson’s third subpoena and enforced the parties’ agreement

regarding Wilson’s second subpoena. D.E. 1724.

       4.     Wilson’s Fourth Rule 17(c) Subpoena

       Wilson’s Fourth Subpoena dated November 23, 2020, sought, among other things,

donation histories associated with thousands of students who received a so-called “VIP” tag over

a multiyear period. See Exhibit F. The Court essentially quashed Wilson’s Fourth Subpoena in

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its entirety.4 D.E. 1724.

        5.      Wilson’s Trial Subpoena

        Wilson’s trial subpoena is, at best, cumulative of his four prior Rule 17(c) subpoenas issued

to USC. Wilson’s trial subpoena seeks admission-related and donation-related documents for 22

students.5 See Exhibit A. Six of these 22 students were identified by Wilson in his first Rule 17(c)

subpoena, and the Court quashed Wilson’s request with respect to two of these six students who

were not admitted through Subco. Another student at issue in Request 2 of Wilson’s trial subpoena

was identified by Wilson in resolving his second Rule 17(c) subpoena, and USC already produced

admission-related documents and donation histories associated with this student.

        Wilson’s trial subpoena is also an improper attempt to obtain documents that were already

resolved through prior negotiation.       USC agreed to resolve Wilson’s second Rule 17(c)

subpoena—which sought admission-related and donation-related documents for thousands of

students—by producing admission-related documents and donation histories for 15 specifically

identified water polo players, and donation histories for 11 additional student-athletes who were

not water polo players. D.E. 1358. When Wilson reneged on the parties’ agreement and sought

admission-related documents for additional student-athletes in his third subpoena, the Court

quashed his request. D.E. 1724. When Wilson sought donation histories for students admitted

with a “VIP” tag, including non-student athletes, in his fourth subpoena, the Court quashed his

request. Id. This is now Wilson’s fifth bite at the apple, and Wilson is again requesting documents

to which the Court has already determined he is not entitled. Wilson’s repeated requests are

unreasonable, oppressive, and should be quashed.


 4
     The Court adopted USC’s suggestion that it provide a declaration to Wilson that the
     significance of a “VIP” tag was the same in 2014 as it was in 2018.
 5
     Although there are 24 names listed by Wilson’s trial subpoena, one name confusingly refers to
     a student’s parent, and another name is included in both Requests 1 and 2.

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C.     Wilson’s trial subpoena unreasonably invades student privacy.

       Even if the admission-related and donation-related documents about these unrelated

students carried some marginal relevance (and they do not), Wilson’s trial subpoena is

unreasonable in light of the significant invasion of student privacy. Rule 17’s prohibition on

“unreasonable or oppressive” subpoenas “protect[s] against unduly encroaching upon the

expectations of innocent [students] that their . . . records will be kept confidential.” In re Grand

Jury Proceedings: Subpoenas Duces Tecum, 827 F.2d 301, 305–06 (8th Cir. 1987). A document’s

relevance must be “weighed against the privacy interests implicated” in a Rule 17 demand. United

States v. Murray, 2019 WL 1993785, at *7 (D. Mass. May 6, 2019). And “subpoenae targeting

confidential academic information deserve heightened scrutiny.” United States v. Trustees of

Boston College, 831 F. Supp. 2d 435, 455 (D. Mass. 2011).

       Wilson’s request cannot survive scrutiny. Documents such as high school students’ high

school transcripts, standardized test scores, athletic resumes, and families’ donation histories are

extremely sensitive and highly personal. The severity of this intrusion of student privacy is

reflected by the fact that over half the students who received FERPA notices from USC as a result

of Wilson’s prior subpoenas contacted USC with questions and concerns, and nearly a dozen

students moved to intervene. The invasive nature of the requested documents heavily outweighs

any remote relevance.

                                     V.      CONCLUSION

       Wilson’s trial subpoena reflects Wilson’s ongoing attempt to put USC—and other students

and parents—on trial by investigating the circumstances of unrelated students’ admission to USC.

The Court has rightfully declared, in no uncertain terms, that USC is not on trial, and that the

underlying facts of unrelated admission decisions or donation histories had no bearing on

Defendants’ state of mind and are therefore irrelevant to the requisite scienter that the government

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must prove in this case. But Wilson refuses to accept the Court’s ruling. Wilson’s claim that the

Court’s ruling somehow does not apply to the pending tax charge makes no sense, and his

purported justification for the requests at issue fail. USC respectfully requests the Court quash

Requests 1 and 2 of Wilson’s trial subpoena.

                                     Respectfully submitted,
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Dated: September 9, 2021




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                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through ECF system will be sent electronically to

the registered participants as identified on the Notice of Electronic Filing (NEF) on September 9,

2021.

                                      /s/ Anthony E. Fuller
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